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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA
RALEIGH DIVISION

IN RE:

STEPHEN BRADLEY HALFERTY, CASE NO, 22-00101-5-DMW
CHAPTER 13
DEBTOR

EVER-SEAL, INC.
Plaintiff
v.

STEPHEN BRADLEY HALFERTY ADV. PROC. No. 22-00050-5-DMW
dba DURASEAL

Defendant
ANSWER AND COUNTERCLAIM

NOW COMES Defendant, by and through undersigned counsel, and Answers and
Counterciaims the Complaint filed on March 17, 2022.

Paragraphs 1-6 of the Complaint are denied.

Paragraph 7 of the Complaint is admitted.

No answer is required for paragraph 8 of the Complaint.

Paragraph 9 of the Complaint is admitted.

Paragraph 10 of the Complaint is denied because the only market in South

Carolina is Greenville and there was limited activity in Virginia, Indiana and

Alabama.

Paragraph 11 of the Complaint is admitted.

Paragraph 12 of the Complaint is denied. The Defendant was an independent

contractor associated with Plaintiff during the time referenced.

8. Paragraphs 13-14 of the Complaint are admitted.

9. No answer is required for Paragraph 15 of the Complaint.

10. Paragraphs 16-18 of the Complaint are admitted.

11. Paragraphs 19-21 of the Complaint are denied.

12. Paragraphs 22-24 of the Complaint are admitted.

13. Paragraph 25 of the Complaint is denied.

14. Paragraphs 26-27 of the Complaint are admitted but the training was minimal.

15. Paragraph 28 of the Complaint is denied as it relates to Kentucky. As to
Indiana there was only one job that was a referral. South Carolina was limited
to Greenville.

16. Paragraph 29 of the Complaint is denied. The promotion occurred in early

2021.

Un BW) boom

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Paragraphs 30-31 of the Complaint is denied to the extent the allegations are
that an employer-employee relationship when the relationship was that of an
independent contractor.

Paragraph 32 of the Complaint is largely denied although there was some
information that Defendant did have access to.

Paragraph 33 of the Complaint is denied. The Defendant had no insight into
the operational side of the Plaintiff. The Defendant’s role was limited to
estimating and sales.

Paragraphs 34-36 of the Complaint are admitted.

Paragraph 37 of the Complaint is denied. The agreement states that Defendant
will not “enter employment or contract with, nor advise, another company or
business entity that is in direct or indirect competition with Ever-Seal, Inc. or
any of its entities for the same two-year period thereafter.” Defendant is not
violating this agreement. Even if the Defendant is in violation of the
provision, the restrictions are unreasonable and unenforceable as to
geographic, subject matter and temporal scope based on the information
provided to the Defendant and the scope of his duties.

Paragraphs 38-42 of the Complaint are admitted as to the verbiage of the
agreement but otherwise denied. The Plaintiff made material
misrepresentations to induce the agreement. The Defendant was a contractor
for the Plaintiff engaged in estimating and sales and was trained very little
about a straight-forward process that requires no special knowledge or
experience,

Paragraphs 43-45 of the Complaint are denied.

Paragraph 46 of the Complaint is denied. The Defendant has offered to return
the materials.

Paragraph 47 of the Complaint is beyond the scope of the Defendant’s
knowledge and therefore denied.

Paragraph 48 of the Complaint is denied.

Paragraphs 49-52 of the Complaint are admitted.

Paragraphs 53-57 of the Complaint are denied.

Paragraph 58 is beyond the scope of the Defendant’s knowledge and therefore
denied.

Paragraph 59 of the Complaint is admitted to the extent that the territories in
question are Wilmington NC, Greensboro, NC, Greenville, SC, Charleston,
SC, Tampa, FL, Raleigh, NC, Charlotte, NC, Atlanta, GA and Jacksonville,
FL.

Paragraph 60 of the Complaint is beyond the scope of the Defendant’s
knowledge and therefore denied but the product and processes are not
proprietary and not unique to the Plaintiff. There are many contractors in this
industry offering the same service.

Paragraphs 61-68 of the Complaint are denied.

Paragraphs 69-72 of the Complaint are denied. These matters are beyond the
scope of the Defendant’s knowledge. The Defendant denies that the damages
are the result of conduct (intentional or unintentional) on his part.

34. No answer is required for Paragraph 73 of the Complaint.
 

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. Paragraph 74 of the Complaint is admitted.

Paragraph 75 of the Complaint is denied. The Confidentiality Agreement is
not reasonable or necessary to protect the Plaintiffs interest. The Defendant
agreed to the Confidentiality Agreement under false pretenses as set forth
above.

Paragraph 76 of the Complaint is admitted.

Paragraph 77 of the Complaint is denied. The Defendant was not an employee
of Plaintiff. The Defendant formed Duraseal and operates it.

Paragraph 78 of the Complaint is admitted.

Paragraphs 79-82 of the Complaint are denied.

Paragraph 83 of the Complaint is admitted.

Paragraph 84 of the Complaint is admitted but the Defendant offered to return
the materials and Plaintiff did not respond.

Paragraph 85 of the Complaint is admitted.

Paragraphs 86-89 of the Complaint are denied.

No answer is required for Paragraph 90 of the Complaint.

Paragraphs 91-101 of the Complaint are denied.

Paragraph 102 of the Complaint is denied to the extent the Plaintiff is alleging
that Defendant is seeking to interfere with its prospective customers based on
information he obtained while he worked as an independent contractor for
Plaintiff.

Paragraphs 103-105 of the Complaint are denied.

COUNTERCLAIM

As a further defense and basis for setoff and Counterclaim, the Defendant alleges
and says as follows:

1, Defendant incorporates herein his responses and defenses set forth above.

2. The Plaintiff agreed to pay Defendant for sales activity that he both generated
and oversaw.

3. The Plaintiff has failed to pay the Defendant. Attached as Exhibit A is a
spreadsheet reflecting the amount owed to Defendant by Plaintiff.

4. The Defendant prays that a judgment be entered against Plaintiff for damages
in the amount of $49,124.31.

Dated: May 2, 2022 SASSER LAW FIRM

/s/ Travis Sasser

Travis Sasser, State Bar No. 26707
2000 Regency Parkway, Suite 230
Cary, N.C. 27518

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Fax: 919.657.7400
lwavis@sasserbankruptcy.com
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2020 Rollover
January
February
March
April
May
June
July
August
September
October
November
December

YTD Earned Comm
Sales Manager
Bonus YTD
2021 Compensation
Total Owed

Sales
Close Rate
RPAL
Avg Sale

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Earnings Compe!

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S 3,885.40]$ 1,267.55 $ 2,263.15 S$ 4,168.46
S 16,498.8015 2,934.59 $ 3,145.05 S$ 4,335.34
§ 16,858.20]S5 1,684.34 $ 2,292.90 S$ 5,114.24
S 32,816.10]$ 3,528.13 S$ 4,485.37 S$ 4,152.41
S 11,785.48]/5 4,881.51 S$ 5,419.14 S$ 4,996.84
S 16,843.80]5 2,636.24 S$ 6,499.06 S$ 5,830.90
S 16,944.60]$ 7,173.00 S 8,918.89 $ 2,756.83
§ 5,754.20}S 3,478.98 $ 4,011.28 $ 1,344.90
§ 8401.82]5 1,115.75 $ 3,032.00 $ 593.40
§ 20,527.20] $ 469.38 S$ 6,290.68 S$ 1,363.32
S 2,030.00]$ 4,493.80 S$ 3,017.20 S$ 1,165.56
5 - S 2,679.60 5$ - S 2,151.90
§ 152,345.60
S$ 27,659.90 YTD Sales 3,697,758
§ 10,232.58 Less Brad S 931,768
S 186,113.77 S 2,765,990
S$ 49,124.31
S 1,023,258

43%
S 1,577
5 3,641

 
 

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Check 4 Check 5 Total
§ 3,242.75 14,315.11
$ 2,678.12 13,093.10
§ 3,430.09 | 12,521.57
$ 9,618.37 26,633.67
§ 5,140.84 20,438.33
$ 3,723.87 eee : 18,690.07
$ 2,024.82 $ 3,588.68 24,462.22
$ 2,701.08 1$ 11,536.24
§ 4,722.38 15,575.73
$ 3,362.24 11,485.62
$ 2,870.75 11,547.31
$ 962.70 5,814.80

 

 

 
 

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CERTIFICATE OF SERVICE

I, Travis Sasser of Cary, NC, certify that I am more than eighteen years old and
that on the date stated I served copies of the foregoing Answer and Counterclaim via
CM/ECF to Brian R. Anderson, Esq.

This the 2"¢ day of May, 2022.

SASSER LAW FIRM

By:_s/ Travis Sasser

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